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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


SONTERRA CAPITAL MASTER FUND, LTD., on
behalf of itself and all others similarly situated,

                            Plaintiff,

              v.

BARCLAYS BANK PLC, BARCLAYS CAPITAL
INC., COÖPERATIEVE CENTRALE                           No. 15-cv-03538 (VSB)
RAIFFEISEN-BOERENLEENBANK B.A.,
DEUTSCHE BANK AG, LLOYDS BANKING                      ECF Case
GROUP PLC, THE ROYAL BANK OF
SCOTLAND PLC, UBS AG, AND JOHN DOE                    ORAL ARGUMENT REQUESTED
NOS. 1-50,

                            Defendants.


FRONTPOINT EUROPEAN FUND, L.P., and
RICHARD DENNIS, on behalf of themselves and
all others similarly situated,

                            Plaintiffs,

              v.

BARCLAYS BANK PLC, BARCLAYS CAPITAL,
INC., COÖPERATIEVE CENTRALE
RAIFFEISEN-BOERENLEENBANK B.A.,
DEUTSCHE BANK AG, LLOYDS BANKING
GROUP PLC, THE ROYAL BANK OF
SCOTLAND PLC, UBS AG, AND JOHN DOE
NOS. 1-50,

                            Defendants.


    REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF FOREIGN
 DEFENDANTS’ MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
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        Plaintiffs concede that Foreign Defendants1 are not “at home” in New York (or elsewhere

in the U.S.) so as to authorize general jurisdiction over them. See Opp. 26 n.24. Plaintiffs

instead argue that Foreign Defendants consented to general jurisdiction or are subject to specific

jurisdiction. But every judge in this District to address claims against foreign defendants—

including several Foreign Defendants here—for alleged manipulation of interest rate benchmarks

has rejected the arguments Plaintiffs advance, and the result here should be the same. The recent

decision in Gelboim v. Bank of America Corp., --- F.3d ---, 2016 WL 2956968 (2d Cir. May 23,

2016), did not address personal jurisdiction and thus affords no basis for jurisdiction here.

Plaintiffs’ claims against Foreign Defendants should be dismissed pursuant to Rule 12(b)(2).

I.      FOREIGN DEFENDANTS HAVE NOT CONSENTED TO JURISDICTION.

        Plaintiffs argue that certain Foreign Defendants consented to general jurisdiction by

registering a branch with the DFS and appointing the Superintendent of the DFS as their agent

for service of process. See Opp. 22-28. In advancing this argument, Plaintiffs largely abandon

their earlier reliance on Banking Law § 200(3) and now argue that the Court “should instead

focus on” § 200-b. Opp. 23. But neither provision provides a basis for jurisdiction here.

        Section 200-b provides only that “an action or special proceeding against a foreign

banking corporation may be maintained” by a non-resident “where the defendant is a foreign

banking corporation doing business in this state.” N.Y. Banking Law § 200-b(2)(e). As the

court in In re Foreign Exchange Benchmark Rates Antitrust Litigation (“FX II”) held, § 200-b

“confer[s] subject matter jurisdiction and not personal jurisdiction” and “contains nothing from

which consent to jurisdiction might be implied.” 2016 WL 1268267, at *2 (S.D.N.Y. Mar. 31,

2016). Plaintiffs do not even attempt to distinguish the cases cited by Foreign Defendants, all of
1
 Capitalized terms and citations to Judge Buchwald’s decisions (“LIBOR I-V”) herein have the same meaning as in
Foreign Defendants’ opening brief (ECF No. 103). Citations to “Opp.” refer to Plaintiffs’ opposition to this motion
(ECF No. 114). Unless otherwise specified, internal citations and quotation marks are omitted from case citations.

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which hold that § 200-b is not a personal jurisdiction provision, see PJ Br. 13 n.11, and they cite

no contrary authority.2

         Nor does § 200(3) provide a basis for jurisdiction. As Judge Buchwald recently held, the

argument that § 200(3) provides a basis for general jurisdiction “flies in the face of the plain

language of the statute.” In re LIBOR-Based Fin. Instruments Antitrust Litig. (“LIBOR VI”),

2016 WL 1558504, at *7 (S.D.N.Y. Apr. 15, 2016). Judges in this District have consistently

held that the plain language of § 200(3) limits its scope to actions arising out of a transaction

with a foreign bank’s New York agency or branch, see PJ Br. 11-12,3 and Plaintiffs do not

distinguish those rulings.4 Instead, they respond that Varga v. Credit-Suisse, 157 N.Y.S.2d 391

(App. Div. 1956), supports their construction of § 200(3), but the Varga appellate court, like the

trial court, see PJ Br. 12, actually recognized that § 200(3), on its own, would not support

jurisdiction “where the cause of action arose in a foreign jurisdiction.” 157 N.Y.S.2d at 393.

2
  Nothing in the legislative history cited by Plaintiffs remotely indicates that § 200-b was intended to confer personal
jurisdiction. See Opp. 23 (citing Lefkowitz Decl., Ex. 35). Grasping at straws, Plaintiffs assert that courts have
interpreted registration under a completely different statute, New York Business Corporation Law § 1314, as
conferring general personal jurisdiction and argue that, because New York Banking Law § 200-b was purportedly
enacted as the “Banking Law analogue” to § 1314, it must be interpreted similarly. See Opp. 23-24. However, the
cases cited by Plaintiffs (see Opp. 23-24) actually held that registration under a different Business Corporation Law
provision (§ 304), not § 1314, provided consent to personal jurisdiction. That statute requires designation of the
Secretary of State as agent for service of process; by contrast, § 200-b contains no comparable requirement.
3
  Accord LIBOR VI, 2016 WL 1558504, at *7. Plaintiffs assert that even if jurisdiction under § 200(3) is limited to
claims arising out of a transaction with a foreign bank’s New York branch, such jurisdiction is established here
because Foreign Defendants transacted in Sterling LIBOR-based derivatives “with Plaintiffs and U.S.
counterparties” through their New York branches. Opp. 26 n.24. Because Plaintiffs’ claims do not arise out of
transactions with Foreign Defendants’ New York branches, Plaintiffs’ assertion is irrelevant. See infra Part II.A.
4
  Plaintiffs’ reliance on Vera v. Republic of Cuba, 91 F. Supp. 3d 561 (S.D.N.Y. 2015), and B & M Kingstone, LLC
v. Mega Int’l Commercial Bank Co., 15 N.Y.S.3d 318 (N.Y. App. Div. 2015), see Opp. 25, is equally unavailing.
As recognized in LIBOR VI, those cases held that “foreign banks operating local branches in New York . . . [have]
obligations to participate as third parties in lawsuits which involve assets under their management, not that such
banks have consented to general jurisdiction in New York.” 2016 WL 1558504, at *7. Those decisions therefore
have no relevance here. See also PJ Br. 12 n.10. Moreover, as noted in LIBOR VI, to the extent those decisions held
that registration under § 200(3) amounts to consent to general jurisdiction, they “would ‘risk unravelling the
jurisdictional structure envisioned [by the Supreme Court] based only on a slender inference of consent pulled from
routine bureaucratic measures that were largely designed for another purpose entirely.’” Id. at *7 (quoting Brown v.
Lockheed Martin Corp., 814 F.3d 619, 639 (2d Cir. 2016)). The other decisions Plaintiffs cite (see Opp. 26) address
registration and appointment of an agent for service under different New York state statutes that Plaintiffs do not
invoke here—rightly so, as Foreign Defendants are not registered under them—and which are, therefore, irrelevant.

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The appellate court simply held that where a foreign bank registered and appointed an agent for

service under both § 200(3) and the former Civil Practice Act, § 200(3) did not “confin[e]

jurisdiction under the other sections of the Civil Practice Act” and, therefore, § 200(3) “merely

provides an additional and not exclusive method of service.” Id. at 393-94 (emphasis added).

         Plaintiffs’ interpretations of §§ 200-b and 200(3) should also be rejected because they run

afoul of the Due Process Clause. See PJ Br. 14-15. Indeed, Plaintiffs’ own cases, Pennsylvania

Fire Insurance Co. v. Gold Issue Mining & Milling Co., 243 U.S. 93 (1917), and Robert Mitchell

Furniture Co. v. Selden Breck Construction Co., 257 U.S. 213 (1921) (Opp. 27-28), “stand for

the proposition that federal courts must, subject to federal constitutional restraints, look to state

statutes and case law in order to determine whether a foreign corporation is subject to personal

jurisdiction in a given case because the corporation has appointed an agent for service of

process.” King v. Am. Family Mut. Ins. Co., 632 F.3d 570, 576 (9th Cir. 2011) (emphasis

added). Plaintiffs’ reliance upon dicta in Brown, 814 F.3d at 640, addressing registration under

New York Business Corporations Law §§ 1301 and 1314 (Opp. 28), is misplaced, as no Foreign

Defendant is registered under these provisions, which do not contain the limiting language of

§ 200(3). See PJ Br. 14 n.13. Moreover, Plaintiffs ignore the constitutional avoidance doctrine,

see PJ Br. 15, which compels rejection of their countertextual reading of §§ 200(3) and 200-b.

See Genuine Parts Co. v. Cepec, 2016 WL 1569077, at *11 & n.82 (Del. Apr. 18, 2016).5

         Plaintiffs also contend that UBS “consented to jurisdiction in ISDA Master Agreements

with FrontPoint.” Opp. 9. But at most, UBS consented to jurisdiction only for “dispute[s]


5
 Plaintiffs also fail to respond to Foreign Defendants’ showing that construing registration under a state statute as
consent to general jurisdiction violates the unconstitutional conditions doctrine. See PJ Br. 15 n.14. “A foreign
corporation’s consent to personal jurisdiction cannot be coerced or conditioned on the corporation waiving its right
not to be subject to all-purpose jurisdiction in all but a few places where it has sufficient contacts.” Genuine Parts,
2016 WL 1569077, at *17. In addition, Plaintiffs silently concede, as Brown dictates, that registration with the
Connecticut Department of Banking does not confer jurisdiction over RBS or UBS. See CAC ¶ 28.

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related to an ISDA Master Agreement,” id.—i.e., FrontPoint’s quasi-contractual claims for

breach of the implied covenant and unjust enrichment. Claims against UBS by other Plaintiffs,

such as Sonterra or Dennis, or other claims by FrontPoint (e.g., antitrust), do not qualify because

jurisdiction must be established “with respect to each claim asserted.” PJ Br. 16; see also Cmty.

Fin. Grp. v. Stanbic Bank Ltd., 2015 WL 4164763, at *5 (S.D.N.Y. July 10, 2015) (consent in

contract does not extend to claims by non-party). Most importantly, however, FrontPoint’s

quasi-contractual claims against UBS fail on the merits,6 and any purported consent by UBS to

jurisdiction for those claims is, therefore, immaterial. See LIBOR IV, 2015 WL 6243526, at *20-

21 (S.D.N.Y. Oct. 20, 2015) (courts may consider jurisdiction concurrently with merits and find

lack of personal jurisdiction where plaintiffs’ underlying legal theory fails).7

II.      FOREIGN DEFENDANTS ARE NOT SUBJECT TO SPECIFIC JURISDICTION.

         A.       The Alleged Suit-Related Conduct Occurred Outside the U.S.

         Plaintiffs’ claims arise from the alleged manipulation of Sterling LIBOR abroad. See PJ


6
  See 12(b)(1)/(6) Mem. (ECF No. 100) at 54-55; Reply Mem. of Law in Further Support of Defs.’ Mot. to Dismiss
the Consolidated Am. Compl. for Lack of Subject Matter Jurisdiction and Failure to State a Claim, filed
contemporaneously herewith (“12(b)(1)/(6) Reply”), at Parts VI-VII. Plaintiffs’ reliance on the 2002 decision
Indosuez International Finance B.V. v. National Reserve Bank, 98 N.Y.2d 238 (N.Y. 2002), to establish jurisdiction
under the “purposeful availment” standard (see Opp. 9 n.6) is misplaced. Under Walden v. Fiore, “suit-related
conduct must create a substantial connection with the forum.” 134 S. Ct. 1115, 1121 (2014) (emphasis added).
There is no such substantial connection between UBS and New York, as explained infra. The alleged ISDA
agreement is irrelevant as it relates only to quasi-contractual claims that are not viable.
7
  Sonterra previously argued that Foreign Defendants are subject to personal jurisdiction in this action based on
forum selection clauses in selected agreements entered into by certain Foreign Defendants with entities other than
Plaintiffs. See ECF No. 81 at 2-3. But Plaintiffs appear to have abandoned that argument—not surprisingly, as the
argument has been flatly and repeatedly rejected by the courts. See PJ Br. 22. To the extent Plaintiffs continue to
advance the argument (see Opp. 9 n.6), it fails: Plaintiffs neither distinguish any of the cases cited by Foreign
Defendants, nor cite a single case holding that contractual consent to jurisdiction in an agreement with non-
plaintiffs constitutes consent to specific jurisdiction over a plaintiff’s claims. Moreover, none of the agreements
attached to Plaintiffs’ opposition even refers to Sterling LIBOR. See Lefkowitz Decl., Exs. 5-19. Nor do Plaintiffs
allege that any Foreign Defendant entered into any Sterling LIBOR-based transactions with anyone under these
agreements, and the only trade confirmations attached to the opposition relate to trades tied to USD LIBOR. See id.,
Ex. 5 at 3; Ex. 7 at 13-14; Ex. 11 at 49-50; Ex. 14 at 4. In addition, the only Rabobank agreement cited by Plaintiffs
was, as they concede, allegedly executed after the Class Period. Id. ¶ 10(o) & Ex. 19 at 1. To the extent Plaintiffs
argue that the cited agreements and fund transfers through U.S. accounts support specific jurisdiction, that argument
fails because those contacts are not suit-related. See infra at 5, 8-9.

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Br. 17-19. Plaintiffs respond that there is nevertheless specific jurisdiction here because certain

Foreign Defendants’ alleged business activities in New York (or the U.S.)8—e.g., establishment

of branches, transactions in Sterling LIBOR-based derivatives with non-plaintiffs, execution of

ISDAs or other agreements with non-plaintiffs containing New York forum selection clauses, or

employment of traders of Sterling LIBOR-based derivatives—give rise to personal jurisdiction.

See Opp. 1-9, 11-13. These contacts, however, cannot support specific jurisdiction in this action,

as Plaintiffs’ claims do not arise out of them. See PJ Br. 19-20.

           In an effort to recast these alleged in-forum contacts as suit-related, Plaintiffs

misleadingly cite cases interpreting New York’s long-arm statute and, on that basis, argue that a

causal relationship between their claims and Foreign Defendants’ forum contacts is unnecessary,

provided their claims are “not completely unmoored” from those contacts. See Opp. 9-10. As

explained in Foreign Defendants’ moving brief, however, to satisfy constitutional due process,

the Second Circuit requires a “but for” connection between the defendant’s forum-directed

activities and the claim, and proximate cause where, as here, the defendant had only limited

contacts with the state. See PJ Br. 16. Plaintiffs allege no causal connection between the alleged

misconduct forming the basis of their claims and the forum (whether New York or the U.S.).9

           In a similar effort to conjure up supposedly suit-related contacts, Plaintiffs contend that

Walden and Calder v. Jones, 465 U.S. 783 (1984), support their assertion that Foreign

8
    A nationwide contacts analysis is not appropriate. See infra Part III.
9
  Gucci America v. Weixing Li, on which Plaintiffs rely (Opp. 10), expressly applies “but for” causation when
addressing due process. See 135 F. Supp. 3d 87, 98-99 (S.D.N.Y. 2015), appeal dismissed, No. 15-3850 (2d Cir.
Feb. 16, 2016). The portion of Sunward Electronics, Inc. v. McDonald, 362 F.3d 17, 23 (2d Cir. 2004), cited by
Plaintiffs (Opp. 12) addresses New York’s long-arm statute, not due process. And contrary to Plaintiffs’ suggestion
(Opp. 19 n.13), Foreign Defendants have never conceded that personal jurisdiction is proper under the long-arm
statute. Rather, they have not addressed it because when jurisdiction is incompatible with due process, the Court
need not assess jurisdiction under the statute. See Sonera Holding B.V. v. Cukurova Holding A.S., 750 F.3d 221,
225 n.2 (2d Cir. 2014). Plaintiffs conclusorily state that they “have alleged facts that comply with the provisions” of
the long-arm statute (Opp. 19 n.13), but they present no argument as to how they have satisfied the requirements of
any provision of the statute.

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Defendants’ alleged transactions in Sterling LIBOR-based derivatives with non-plaintiffs give

rise to specific jurisdiction. See Opp. 14 n.9. But neither case involved a putative class action

plaintiff purporting to rely on defendants’ alleged contacts with unnamed putative class

members. Here, Plaintiffs ask this Court to ignore black-letter law: “[c]ontacts with unnamed

class members may not be used as a jurisdictional basis.” Beach v. Citigroup Alternative

Investments LLC, 2014 WL 904650, at *6 (S.D.N.Y. Mar. 7, 2014); see also, e.g., Greene v.

Mizuho Bank, Ltd., 2016 WL 946921, at *8 (N.D. Ill. Mar. 14, 2016) (“[s]pecific personal

jurisdiction can arise only from the claims of the named plaintiffs, not those of absent class

members”). Plaintiffs’ sole response is a feeble attempt to distinguish just one of the cases

standing for this proposition. See Opp. at 14 n.9 (citing AM Trust v. UBS AG, 78 F. Supp. 3d

977 (N.D. Cal. 2015)). The AM Trust court held that “claims of unnamed class members are

irrelevant to the question of specific jurisdiction.” 78 F. Supp. 3d at 986. Plaintiffs assert that in

AM Trust, “the only [alleged] connection between the defendant and the forum was that some

members of the [class of plaintiffs] . . . reside[d] in California.” Opp. 14 n.9. But just like here,

the plaintiffs there contended that specific jurisdiction existed based on the foreign defendant’s

non-suit related contacts with non-plaintiffs in the forum—an argument that the AM Trust court

rejected. See 78 F. Supp. 3d at 983.

       Plaintiffs also rely on FX II to argue that Foreign Defendants’ trading of Sterling LIBOR-

based derivatives in the U.S. with non-plaintiff U.S. counterparties supports personal jurisdiction

(Opp. 12), but FX II lends Plaintiffs no support because, as the LIBOR VI court observed, the

benchmark rates at issue in FX II were calculated based on actual market transactions and

“defendants[] accomplished their purported scheme by entering into FX transactions” that

allegedly impacted those rates. LIBOR VI, 2016 WL 1558504, at *7 (emphasis in original); see



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PJ Br. at 20-21. “Here, by contrast, defendants [did] not engage in any market transactions at all

. . . to affect the LIBOR fix,” LIBOR VI, 2016 WL 1558504, at *7, which is based exclusively on

submissions reflecting hypothetical borrowing rates in the Sterling market. CAC ¶ 119.10

         Plaintiffs rely on Gelboim (which did not even address personal jurisdiction) to argue that

“any act that facilitates the price fixing scheme is itself a suit-related contact,” Opp. 10, and that,

therefore, conduct other than alleged manipulation of Sterling LIBOR abroad is supposedly

jurisdictionally relevant here. The only act Plaintiffs identify, however, that allegedly “injected

[the] price artificiality” of which they complain was Foreign Defendants allegedly “manipulating

the Sterling LIBOR fix” (Opp. 10)—conduct that Plaintiffs do not allege occurred anywhere in

the U.S. See PJ Br. 18-19. Moreover, Plaintiffs’ suggestion that Gelboim supports their

argument that alleged Sterling LIBOR manipulation “caused an injury in the U.S. markets”

(Opp. 10) is just a repetition of their legally insufficient attempt to premise personal jurisdiction

on the “effects” in the U.S. of alleged Sterling LIBOR manipulation abroad. See infra Part II.B.

         Plaintiffs’ other efforts to identify suit-related forum contacts similarly fail. Plaintiffs

assert that certain Foreign Defendants manipulated Sterling LIBOR from within New York (or

the U.S.) (Opp. 13-14), but, as detailed in Foreign Defendants’ moving brief, no Foreign

Defendant’s regulatory settlements contain any allegation that a Foreign Defendant engaged in

Sterling LIBOR-related manipulation anywhere in the U.S. See PJ Br. 17-19.11 The Court


10
  Plaintiffs point to their allegations that Foreign Defendants DB and Lloyds “pushed cash” and “spoofed,” thereby
engaging in “non-rate setting collusion and anti-competitive conduct” that constitutes suit-related contacts. Opp. 12
n.7. Plaintiffs, however, fail to allege that such conduct occurred in New York (or anywhere else in the U.S.) or had
any effect on a Sterling LIBOR-based instrument held by Plaintiffs. Indeed, the settlements cited in relation to DB
concern Euros, not Sterling LIBOR. See 12(b)(1)/(6) Mem. 8 n.9. Moreover, the CAC contains no allegation that
Defendants Barclays, BCI, Rabobank, RBS, or UBS engaged in any such conduct.
11
   See DB DOJ ¶ 18 (referring to New York-based conduct concerning only USD LIBOR); id. ¶¶ 96-97 (no
allegation of U.S.-based conduct relating to Sterling LIBOR); DB CFTC at 30-32 (same); DB FCA §§ 2.2, 4.24
(same); DB DFS ¶ 16 (same); Rabobank CFTC at 36-38 (no allegation of U.S.-based conduct relating to Sterling
LIBOR); Rabobank DOJ ¶¶ 67-68 (same); Rabobank FCA § 2.5 (same); Barclays DOJ ¶¶ 12-13, 15-16 (referring to
New York-based conduct concerning USD LIBOR only); Barclays CFTC at 8 n.9 (only trader request referenced

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therefore should not credit Plaintiffs’ conclusory assertions to the contrary. See, e.g.,

Matusovsky v. Merrill Lynch, 186 F. Supp. 2d 397, 400 (S.D.N.Y. 2002) (“If a plaintiff’s

allegations are contradicted by . . . a document [referenced in the pleadings], those allegations

are insufficient to defeat a motion to dismiss.”).12 That some of the settlements identify conduct

relating to benchmarks other than Sterling LIBOR cannot support personal jurisdiction in this

case, which concerns solely Sterling LIBOR. See PJ Br. 17-18 (citing LIBOR IV).13

         Plaintiffs also assert that personal jurisdiction exists because Foreign Defendants

purportedly routed funds through U.S.-based accounts “as they manipulated trades with in-forum

counterparties.” Opp. 9 n.6. Even if this unsubstantiated allegation were pled in the CAC—and

it is not—it would not support jurisdiction because Plaintiffs do not allege that any such transfer

was in connection with a transaction with Plaintiffs in Sterling LIBOR-based derivatives. See

supra at 5. Allegations about payments related to transactions with non-plaintiffs that may have




concerning Sterling LIBOR originated from Singapore); UBS CFTC at 48 (conduct in Connecticut related only to
USD LIBOR). Appendix A hereto contains full references to the publicly available regulatory settlements
incorporated by reference into the CAC.
12
   Plaintiffs inaccurately assert that a declaration in a separate action by Barclays’ declarant here, Patrick Gonsalves,
was contradicted by CFTC findings. See Opp. 20 n.14. Setting aside the complete irrelevance of a declaration in an
action concerning USD LIBOR to this action, Plaintiffs’ misleading statement ignores both the clear language of the
declaration—which explains where Barclays’ USD LIBOR submissions were “determined” (see Am. Decl. of P.
Gonsalves, In re LIBOR-Based Fin. Instruments Antitrust Litig., No. 11-md-2262, ECF No. 1005-1 ¶ 16 (S.D.N.Y.
Feb. 2, 2015))—and that of the CFTC order—which concerns only where certain requests by traders for favorable
submissions were sent (see Barclays CFTC Order at 3). Indeed, the CFTC Order itself makes clear that the traders
requesting favorable submissions were not the Barclays employees “responsible for determining and submitting
Barclays’ daily LIBORs.” Id. In any event, while certain requests from Barclays’ traders concerning USD LIBOR
were transmitted from New York, Barclays’ regulatory settlements discuss only a single request from any Barclays
trader concerning Sterling LIBOR, and that request originated from Singapore. Id. at 8 n.9.
13
  Likewise, the transcript of former DB trader Michael Curtler’s plea before this Court (see Opp. 6) contains no
reference to Sterling LIBOR—understandably so, as that case involved USD LIBOR conduct. See Lefkowitz Decl.,
Ex. 29. Similarly, the indictment of two former DB employees cited by Plaintiffs (see Opp. 6-7) contains no
reference to Sterling LIBOR. See Lefkowitz Decl. Ex. 38. As Plaintiffs themselves concede (Opp. 7), the indictment
relates to USD LIBOR, not Sterling LIBOR. Plaintiffs also argue that this Court should infer that DB’s New York-
based employees engaged in manipulation of Sterling LIBOR on the basis of an email from a DB employee stating:
“Make sure our libors are on the low side for all ccys.” Opp. 16. Aside from the fact that this communication has
no relation to New York, the DFS found, in its settlement with DB, that “there is no evidence known to the
Department that would support a finding that this instruction was followed.” DB DFS ¶ 57 n.1.

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been routed through New York are irrelevant. See Beach, 2014 WL 904650, at *6.14

         B.       Allegations of In-Forum “Effects” Are Insufficient.

         Plaintiffs’ argument based on supposedly foreseeable U.S. effects of alleged

manipulation of Sterling LIBOR abroad is equally misconceived. See PJ Br. 23-25. The inquiry

is not whether effects in the forum were foreseeable, but whether the forum was the “focal point”

of Foreign Defendants’ alleged conduct such that they “expressly aimed” their conduct at the

forum and “knew that the brunt of [the] injury” would be felt there. See PJ Br. 24 (citing Calder,

465 U.S. at 789-90). Plaintiffs fail to allege facts plausibly showing that New York (or the U.S.)

was the “focal point” of Foreign Defendants’ alleged Sterling LIBOR-related conduct or that

they knew the “brunt” of any injury would be felt here.15 Nor could they, because even if

Foreign Defendants were aware of any potential effects in the U.S., Sterling LIBOR-based

14
   Plaintiffs erroneously argue that Licci v. Lebanese Canadian Bank, SAL, 673 F.3d 50 (2d Cir. 2012), stands for the
proposition that the transfer of funds through New York bank accounts, in itself, is sufficient to subject a foreign
defendant to specific jurisdiction. See Opp. 9 n.6. Not so. In Licci, the New York Court of Appeals, answering
questions certified by the Second Circuit, opined that under New York’s long-arm statute, a foreign defendant’s use
of a New York correspondent bank account to execute wire transfers supported the exercise of specific jurisdiction
over claims alleging that the transfers were purposefully used to fund terrorist attacks harming the plaintiffs. Licci v.
Lebanese Canadian Bank, 732 F.3d 161, 168-69 (2d Cir. 2013). The Second Circuit then held that this exercise of
jurisdiction comported with due process because the transfers were used “as an instrument for accomplishing the
alleged wrongs for which the plaintiffs seek redress.” Id. at 171. As discussed above, Plaintiffs here do not allege
that their claims arise out of Foreign Defendants’ purported wire transfers.
15
  Plaintiffs claim the testimony of former Rabobank employees Paul Robson, Lee Stewart, and Takayuki Yagami
supports their allegations (Opp. 15, 22), but, like the testimony of Anthony Allen previously addressed by Foreign
Defendants, see PJ Br. 25 n.27, this testimony does nothing to establish Sterling LIBOR-related conduct expressly
aimed at New York (or the U.S.). Indeed, it does not refer to Sterling LIBOR, which is unsurprising, as the
proceedings involving these individuals concerned only Yen LIBOR and USD LIBOR conduct. See Indictment,
United States v. Robson, et al., No. 14-cr-272, ECF No. 5 (S.D.N.Y. Apr. 28, 2014) (alleging Yen LIBOR
manipulation only); Plea Tr., United States v. Yagami, No. 14-cr-272, ECF No. 16 (S.D.N.Y. June 10, 2014) (guilty
plea for Yen LIBOR manipulation only); Plea Tr., United States v. Stewart, No. 14-cr-272, ECF No. 46 (S.D.N.Y.
Mar. 23. 2015) (guilty plea for USD LIBOR manipulation only); Superseding Indictment, United States v. Allen, et
al., No. 14-cr-272, ECF No. 62 (S.D.N.Y. June 25, 2015) (alleging Yen LIBOR and USD LIBOR manipulation
only). Nor does the testimony of former DB employee Curtler establish Sterling LIBOR-related conduct expressly
aimed at New York (or the U.S.), as the transcript of his plea contains no reference to Sterling LIBOR. See supra
note 13. Moreover, Plaintiffs’ assertion that these individuals’ testimony demonstrates express aiming at the U.S. is
belied by the testimony itself; the witnesses merely stated that they knew that there were counterparties all over the
world trading financial instruments based on interest rate benchmarks in certain currencies (but not Sterling
LIBOR), and that some of these counterparties were located in the U.S. The testimony cited by Plaintiffs fails to
establish specific jurisdiction for the additional reason that the sole question on this motion is whether there is
personal jurisdiction over the claims of any named plaintiff, AM Trust, 78 F. Supp. 3d at 986 (“claims of unnamed
class members are irrelevant” to specific jurisdiction), and no Plaintiff transacted with Rabobank or DB.

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derivatives represent just a small fraction of interest-rate derivatives traded here.16

         Relying primarily on In re Magnetic Audiotape Antitrust Litigation, 334 F.3d 204 (2d

Cir. 2003), Plaintiffs nevertheless argue that the effects allegedly caused in the U.S. by Foreign

Defendants’ alleged manipulation of Sterling LIBOR abroad support specific jurisdiction. See

Opp. 9-17. That case, however, lends Plaintiffs no support because it unquestionably involved a

conspiracy aimed directly at the U.S. See Lefkowitz Decl., Ex. 34 ¶¶ 20-23 (allegations in

complaint that foreign defendant’s officer directed former employee to attend meeting in U.S.

organized to discuss price-fixing, after which officer sought to finalize agreement to fix prices in

U.S.); In re Magnetic Audiotape, 334 F.3d at 208 (noting also that plaintiffs provided minutes

from subsequent meeting in Korea at which representatives of foreign defendant discussed price-

fixing aimed at U.S.). The question there was not whether the plaintiffs adequately alleged a

price-fixing conspiracy expressly aimed at the U.S., but whether they sufficiently alleged that the

foreign defendant itself (as opposed to only its U.S. subsidiary) “participated directly” in the

conspiracy. See 334 F.3d at 208. The Second Circuit held that the district court should have

granted limited jurisdictional discovery on this question. Id. But unlike the plaintiffs in

Magnetic Audiotape, Plaintiffs here not only fail to allege facts showing that Foreign Defendants

participated in the alleged price-fixing conspiracy, see 12(b)(1)/(6) Mem. at 21-25, they also

have not alleged facts establishing that any such conspiracy was expressly aimed at the U.S.17


16
   A triennial study by the Federal Reserve Bank of New York titled “The Foreign Exchange and Interest Rate
Derivatives Markets: Turnover in the United States, April 2007” found that Sterling LIBOR-based swaps accounted
for “less than 2 percent of the total” of all single-currency interest rate swaps traded in the U.S. Plaintiffs’ counsel
filed a copy of the study in an action alleging Euribor manipulation, see Sullivan, et al. v. Barclays PLC, et al., No.
1:13-cv-02811, ECF No. 230-14 (S.D.N.Y. Dec. 4, 2015), but, notably, have chosen not to file that study here.
Instead, they have filed the 2010 and 2013 versions of the study, which do not include the above-referenced data.
See Lefkowitz Decl., Exs. 32-33. In any event, the 2010 and 2013 studies fail to provide any basis for concluding
that Foreign Defendants expressly aimed their alleged conduct at the U.S. See id.
17
  As Judge Forrest held in In re Aluminum Warehousing Antitrust Litigation, 90 F. Supp. 3d 219, 234 (S.D.N.Y.
2015), plaintiffs asserting personal jurisdiction based on a purported conspiracy aimed at the forum “need to allege
more. They would need to allege and have facts supporting [defendants] taking specific actions or being a

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         Plaintiffs contend that United States v. Allen, 2016 WL 615705 (S.D.N.Y. Feb. 16, 2016),

supports personal jurisdiction over Foreign Defendants, but Allen addressed the extraterritorial

application of the wire fraud statute against criminal defendants, not personal jurisdiction in the

civil context, id. at *6-7—two entirely different inquiries. See United States v. Hayes, 99 F.

Supp. 3d 409 (S.D.N.Y. 2015), order adopted in part, 118 F. Supp. 3d 620 (S.D.N.Y. 2015),

appeal dismissed, No. 15-2597 (2d Cir. Mar. 15, 2016); see PJ Br. 25.18

         C.       Plaintiffs’ Conspiracy Theory Fails.

         Plaintiffs ask the Court to exercise jurisdiction over Foreign Defendants because they

allegedly participated in a conspiracy with “significant U.S. contacts.” Opp. 20. But even before

Walden, the assertion of “personal jurisdiction over a defendant . . . through the imputation of

contacts of that defendant’s putative co-conspirators . . . ha[d] been widely criticized by courts

and scholars.” Tymoshenko v. Firtash, 2013 WL 1234943, at *4 (S.D.N.Y. Mar. 27, 2013).19

After Walden—which held that “the relationship [giving rise to jurisdiction] must arise out of

contacts that the defendant himself creates with the forum State,” 134 S. Ct. at 1122 (emphasis in

original)—it is clear that the conspiracy theory fails to comport with due process because it bases

personal jurisdiction squarely upon third parties’ contacts with the forum, which Walden forbids:

“[O]ur minimum contacts analysis looks to the defendant’s contacts with the forum State itself,



participant in a particular meeting (as in In re Magnetic Audiotape) in which the unlawful conspiracy was furthered
in some manner.” Otherwise, Plaintiffs fail to plead “action directed at the U.S. to support jurisdiction.” Id.
18
   Plaintiffs’ reliance on In re Terrorist Attacks on September 11, 2001, 714 F.3d 659 (2d Cir. 2013), is equally
unavailing, as the court in that case held that plaintiffs were entitled to jurisdictional discovery as to whether
defendants had expressly aimed their conduct at the U.S. based on factual allegations showing that they had sent
financial support to al Qaeda affiliates “known to be targeting the United States.” Id. at 678. Plaintiffs here fail to
allege any facts showing that Foreign Defendants expressly targeted the U.S.
19
  In Tymoshenko, Judge Wood quoted the Seventh Circuit’s holding that “there is no independent federal ‘civil co-
conspirator’ theory of personal jurisdiction.” 2013 WL 1234943, at *4 (quoting Davis v. A. & J. Elec., 792 F.2d 74,
76 (7th Cir. 1986)). Indeed, the conspiracy theory is inconsistent with the Supreme Court’s admonition that “[e]ach
defendant’s contacts with the forum State must be assessed individually” in the due process analysis. Keeton v.
Hustler Magazine, Inc., 465 U.S. 770, 781 n.13 (1984) (emphasis added).

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not the defendant’s contacts with persons who reside there.” Id. at 1123. Under Walden, “a

defendant’s relationship with a plaintiff or third party, standing alone, is an insufficient basis for

jurisdiction.” Id. (emphasis added). Conspiracy jurisdiction violates this precept.20

         Even if conspiracy jurisdiction could pass constitutional muster, it would require factual

allegations Plaintiffs do not (and cannot) make. Plaintiffs must “(1) make a prima facie factual

showing of a conspiracy; (2) allege specific facts warranting the inference that the defendant was

a member of the conspiracy; and (3) show that the defendant’s co-conspirator committed a

tortious act pursuant to the conspiracy in this jurisdiction.” Wilder v. News Corp., 2014 WL

1315960, at *6 (S.D.N.Y. Mar. 31, 2014).21 And to satisfy New York’s long-arm statute,

Plaintiffs must show that the New York co-conspirator’s alleged New York activity (1) had

effects of which the out-of-state co-conspirators were aware, (2) was for the benefit of the out-of-

state conspirators, and (3) was at the behest of, or under the control of, the out-of-state co-

conspirators. Heinfling v. Colapinto, 946 F. Supp. 260, 265 (S.D.N.Y. 1996); accord Grove

Press, Inc. v. Angleton, 649 F.2d 121, 122 (2d Cir. 1981). These long-arm statute requirements,

grounded in the agency-law principles on which the conspiracy jurisdiction theory is based, have

assumed constitutional significance post-Walden. Absent their satisfaction, a defendant may not

(consistent with due process) be deemed to have purposefully availed itself of the forum and be

haled into court based on contacts of third parties. Plaintiffs plead none of the prerequisites.
20
   See, e.g., In re Aluminum Warehousing, 90 F. Supp. 3d at 227 (“The rules and doctrines applicable to personal
jurisdiction are sufficient without the extension of the law to a separate and certainly nebulous ‘conspiracy
jurisdiction’ doctrine.”); Cebulske v. Johnson & Johnson, 2015 WL 1403148, at *2-3 (S.D. Ill. Mar. 25, 2015)
(rejecting conspiracy jurisdiction as inconsistent with due process after Walden and noting that “[r]ecent case law
reveals a strong trend that something more than an attenuated link is necessary to establish a defendant’s personal
jurisdiction”); cf. Laydon, 2015 WL 1515358, at *3 (“Courts have been increasingly reluctant to extend [the
‘conspiracy theory’] of jurisdiction beyond the context of New York’s long-arm statute . . . .”). To support their
argument that conspiracy jurisdiction remains viable, Plaintiffs point only to pre-Walden cases. See Opp. 21 n.18.
21
  Although the case cited by Plaintiffs, In re Satyam Computer Services Securities Litigation, 915 F. Supp. 2d 450,
484 (S.D.N.Y. 2013), states the third prong differently, Satyam merely paraphrased the standard set forth in Allstate
Life Insurance Co. v. Linter Group Ltd., 782 F. Supp. 215, 221 (S.D.N.Y. 1992), which requires that plaintiffs
“show that the defendant’s co-conspirator committed a tortious act pursuant to the conspiracy in this jurisdiction.”

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         First, as detailed in Defendants’ merits briefs, the CAC is devoid of any allegation of an

agreement between any Defendants, much less allegations creating a plausible inference of a

conspiracy among all Defendants—each with its own business strategy and investments—to

move Sterling LIBOR upward and downward “on a daily basis” for their collective benefit over

a six-year period. See 12(b)(1)/(6) Mem. at Part II.D; 12(b)(1)/(6) Reply at Part III.C. Contrary

to Plaintiffs’ assertion otherwise (Opp. 21), the allegations here do not come close to those in

Gelboim. See 12(b)(1)/(6) Reply at 13-14. “Bland and conclusory assertions of conspiracy” like

those Plaintiffs offer “are insufficient.” In re Satyam Comput. Servs., 915 F. Supp. 2d at 484.22

         Second, Plaintiffs fail to allege specific facts that support an inference that each Foreign

Defendant was a member of any such conspiracy. See 12(b)(1)/(6) Mem. at Part II.D;

12(b)(1)/(6) Reply at Part III.C. Plaintiffs’ failure to identify any Sterling LIBOR-related

communications between Defendants or even any statistical evidence demonstrating parallel

conduct is fatal to this requirement. Plaintiffs, moreover, fail to allege that (1) each Foreign

Defendant was aware of any effects of the alleged co-conspirators’ activity in New York (or the

U.S.), (2) any in-forum activity was for the benefit of each Foreign Defendant, and (3) any

alleged conspiratorial activity in the forum was at the behest of, or under the control of, each

Foreign Defendant.23


22
  Starr v. Sony BMG Music Entertainment, 592 F.3d 314 (2d Cir. 2010), does not support Plaintiffs’ assertion that
the existence of a government investigation is “plausible grounds to infer an agreement.” Opp. 20 n.15. It held only
that plaintiffs had alleged a plausible conspiracy on the basis of allegations of “non-conclusory factual allegations of
parallel conduct”—allegations absent here—supported by, inter alia, pending government investigations. Starr, 592
F.3d at 323-24. Here, government investigations undermine, rather than support, Plaintiffs’ assertion of a
conspiracy, as none resulted in any finding of conspiratorial conduct by any Defendant with respect to Sterling
LIBOR. See 12(b)(1)/(6) Mem. 7-9. Pabon v. Barclays Bank, 2016 WL 2770541 (S.D.N.Y. May 12, 2016), is also
inapposite as it involved a motion to compel the production of documents filed by former Barclays employees
seeking advancement of legal fees, and has nothing whatsoever to do with Plaintiffs’ assertion regarding the import
of a government investigation.
23
 See, e.g., Daventree Ltd. v. Rep. of Azerbaijan, 349 F. Supp. 2d 736, 763 (S.D.N.Y. 2004) (dismissing claims
where no allegation that foreign defendants “controlled or directed” alleged co-conspirators’ wrongful acts in New
York or had “knowledge of, or consent to” such acts); Heinfling, 946 F. Supp. at 265 (same given absence of

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         Third, Plaintiffs fail to allege that any purported co-conspirator committed a tortious act

pursuant to the conspiracy in the forum. As discussed in Part II.A, Plaintiffs fail to identify any

suit-related conduct in New York (or the U.S.). The “mere presence of one [purported]

conspirator [in the forum] . . . does not confer personal jurisdiction over another alleged

conspirator.” Leasco Data Processing Equip. Corp. v. Maxwell, 468 F.2d 1326, 1343 (2d Cir.

1972). Plaintiffs must allege a “link between the [Foreign] Defendants’ allegedly fraudulent

conduct and the minimum contacts necessary to exercise personal jurisdiction over them.” In re

Satyam Comput. Servs., 915 F. Supp. 2d at 485. They have failed to do so.24

III.     FEDERAL STATUTES DO NOT GIVE RISE TO JURISDICTION.

         Nationwide service of process provisions in federal statutes do not support personal

jurisdiction here.25 Plaintiffs’ reliance on such statutes (Opp. 17-19) is misplaced because their

federal claims fail on the merits. See 12(b)(1)/(6) Mem. Parts I-IV; PJ Br. 26.26 But even if their

federal claims were viable and a nationwide contacts analysis appropriate—which it is not (see

PJ Br. 27-28)—this would mean only that the relevant forum for the jurisdictional inquiry would

be the entire U.S., not New York. Yet, Foreign Defendants’ alleged suit-related contacts with

the U.S. are still insufficient. See supra, Part II; PJ Br. 26-27. Plaintiffs’ suggestion that a

different due process analysis should apply (Opp. 18-19) is unfounded. Courts have “uniformly”

rejected the argument that the Fifth and Fourteenth Amendments have different “minimum

allegations of acts for benefit of out-of-forum conspirators or acts under their control or at their request); First
Capital Asset Mgmt., Inc. v. Bricklellbush, Inc., 218 F. Supp. 2d 369, 395, 399 (S.D.N.Y. 2002) (similar).
24
  Plaintiffs rely on two criminal cases, Hayes and United States v. Busic, 592 F.2d 13 (2d Cir. 1978), to argue that
“even defendants’ acts abroad satisfy the third prong of the conspiracy jurisdiction test because these acts were
directed at the U.S.” Opp. 22. But those cases are unavailing, as neither concerned personal jurisdiction and, as
noted supra at Part II.B, Plaintiffs do not allege that Foreign Defendants expressly directed their conduct at the U.S.
25
  Plaintiffs do not attempt to address their failure to satisfy statutory prerequisites for relying on nationwide service
provisions in RICO and the Clayton Act. See PJ Br. 27 n.32. Thus, those statutes cannot support jurisdiction.
26
  Lotes Co. v. Hon Hai Precision Industry Co., 753 F.3d 395 (2d Cir. 2014) (Opp. 18 n.11), which addressed
subject matter jurisdiction, not personal jurisdiction, does not rebut the fact that courts regularly decline to address
personal jurisdiction under federal statutes where federal claims fail on the merits. See PJ Br. 26 & n.30.

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contacts” tests. FX II, 2016 WL 1268267, at *4; see also LIBOR VI, 2016 WL 1558504, at *6.27

IV.      JURISDICTIONAL DISCOVERY IS INAPPROPRIATE.

         Plaintiffs fail to distinguish this case from every other LIBOR-related case that resolved

personal jurisdiction challenges without jurisdictional discovery. See PJ Br. 30.28 Indeed, in

arguing that Sonterra may seek jurisdictional discovery notwithstanding its failure to request it

within the time prescribed by the Court, see PJ Br. 29, Plaintiffs concede that they “do not

believe jurisdictional discovery is necessary,” Opp. 29 n.29. Moreover, Plaintiffs fail to explain

how Sonterra’s failure to comply with this Court’s directive is cured by the mere filing of the

CAC. In any event, because Plaintiffs fail to plead a prima facie case of personal jurisdiction

despite having had the unusual benefit of extensive findings from several government

investigations—findings unavailable to plaintiffs in the vast majority of cases—they should not

be licensed to go on a “fishing expedition” to salvage their deficient claims. See PJ Br. 29-30.29

                                                  CONCLUSION

         Foreign Defendants should be dismissed from this action pursuant to Rule 12(b)(2).




27
  Plaintiffs’ citations to federal question cases exclusively involving both a domestic plaintiff and a domestic
defendant (Opp. 16-17) are unavailing, as Daimler expressly warned against the “risks to international comity” of an
expansive approach to exercising personal jurisdiction over foreign defendants that is “inconsistent with the fair play
and substantial justice due process demands.” Gucci Am. Inc. v. Weixing Li, 768 F.3d 122, 135 (2d Cir. 2014). In
addition, Plaintiffs’ argument that jurisdiction lies under Fed. R. Civ. P. 4(k)(2) (see Opp. 18 n.12) fails because
Plaintiffs have failed to show that Foreign Defendants’ contacts with the U.S. satisfy due process. See supra Part II.
28
  Plaintiffs assert that Foreign Defendants may be subject to personal jurisdiction based on contacts of in-forum
subsidiaries under New York’s “alter ego” theory of personal jurisdiction, and request jurisdictional discovery to
examine these contacts. See Opp. 29 n.29. But Plaintiffs have not alleged any relevant contacts of Foreign
Defendants’ in-forum subsidiaries, let alone attempted to satisfy any of the factors needed to plead this theory of
jurisdiction. See Bank of Am. v. Apollo Enter. Sols., LLC, 2010 WL 4323273, at *4-5 (S.D.N.Y. Nov. 1, 2010)
(personal jurisdiction lacking where plaintiff failed to set forth allegations satisfying ten-factor “alter ego” analysis).
29
   Plaintiffs, relying on Dorchester Financial Securities, Inc. v. Banco BRJ, S.A., 722 F.3d 81 (2d Cir. 2013), argue
that Foreign Defendants’ declarations cannot be considered without jurisdictional discovery or an evidentiary
hearing. Opp. 19-20. But Plaintiffs’ assertion is irrelevant. Dorchester makes plain that “[p]rior to discovery, a
plaintiff challenged by a jurisdiction testing motion may defeat the motion” only by pleading “legally sufficient
allegations of jurisdiction.” 722 F.3d at 84. For the reasons set forth herein, Plaintiffs have failed to do so here.

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Dated: New York, New York
       June 30, 2016

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